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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    June 19, 2018
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

INMOBILIARIA JRB, S.A. DE C.V., et al, §
                                       §
       Plaintiffs,                     §
VS.                                    § CIVIL ACTION NO. 3:17-CV-194
                                       §
M/V CABALLO MAYA, HER ENGINES, §
BOILERS, TACKLE, FURNITURE,            §
APPAREL, APPURTENANCES, ETC., IN §
REM, et al,                            §
                                       §
       Defendants.                     §

                           ORDER STRIKING PLEADING

       Pending before the Court is Shipping Group Mexico SGM S.A. de C.V.’s Motion

for Leave to Intervene (Dkt. 78); however, it is deficient in the area (s) checked below:

(NOTE: “L.R.” refers to the Local Rules, Southern District of Texas)

1. ___ Pleading is not signed. (L.R.11.3)

2. ___ Pleading is not in compliance with L.R.11.3.A (1) through (6)

3. ___ Caption of the pleading is incomplete. (L.R.10.1)

4. ___ No certificate of service, or explanation why service is not required. (L.R.5.4)

5. _X__ Motion is not in compliance with L.R.7:

       a. _X__ No statement of opposition or non-opposition. (L.R.7.2)

       b. _X__ No statement re conference w/opposing counsel. (L.R.7.1 .D)

       c. _X__ Separate proposed order not provided. (L.R.7.1.C)

6. ___ Motion to consolidate is not in compliance with L.R.7.6.

7. ___ Other:


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       a. ___ Red vertical lines on pleading. (L.R.11.4)

       b. ___ Computer codes on proposed order (Galveston General Order 2000–1)

       c. ___ No space provided for date on proposed order

       d. ___ No leave of court

       e. ___ Original and One Copy filing requirement. (L.R.5.2)

       f. ___ Motion does not comply with Court’s Procedures.



       The Clerk is hereby ORDERED to strike the above instrument from the record

and notify counsel of such action.


       SIGNED at Galveston, Texas, this 18th day of June, 2018.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge




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